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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                     Eastern District of New York, Brooklyn Division
 In re       1943 Eastern Parkway, LLC                                                                       Case No.     18-42043
                                                                                Debtor(s)                    Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                  5,000.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          400.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
              Debtor                  Other (specify):          GJ224 Associates, LLC

3.     The source of compensation to be paid to me is:
                    Debtor        Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       1943 Eastern Parkway, LLC                                                               Case No.    18-42043
                                                             Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 17, 2018                                                               /s/ H Bruce Bronson
     Date                                                                       H Bruce Bronson
                                                                                Signature of Attorney
                                                                                Bronson Law Office, P.C.

                                                                                480 Mamaroneck Ave
                                                                                Harrison, NY 10528-1621
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                                                                                Name of law firm




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